                                                                                                                              Case 3:19-cv-00619-LRH-WGC Document 11 Filed 10/18/19 Page 1 of 2



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                                                                                                                              MedRisk, LLC
                                                                                                                         8

                                                                                                                         9                          IN THE UNITED STATES DISTRICT COURT
                                                                                                                         10                              FOR THE DISTRICT OF NEVADA
                                                                                                                         11       NEIGHBORHOOD NEUROPATHY                   CASE NO. 3:19-cv-00619-LRH-WGC
                                                                                                                                  CENTER OF RENO, LLC, individually
                                                                                                                         12       and on behalf of a class of similarly
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                                  situated individuals,                     STIPULATION AND ORDER TO
                                                                                                                         13                                                 EXTEND TIME FOR DEFENDANT
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




                                                                                                                                                    Plaintiff,              MEDRISK, LLC TO RESPOND TO
                                                                                                                         14                                                 PLAINTIFF’S COMPLAINT
                                                                                                                                  v.
                                                                                                                         15
                                                                                                                                  MEDRISK, LLC, a Delaware limited          (First Request)
                                                                                                                         16       liability company,
                                                                                                                         17                         Defendant.
                                                                                                                         18

                                                                                                                         19            Plaintiff Neighborhood Neuropathy Center of Reno, LLC (“Plaintiff”) and

                                                                                                                         20   Defendant MedRisk, LLC (“MedRisk”)1 stipulate and agree that MedRisk has up to

                                                                                                                         21   and including December 2, 2019, to respond to Plaintiff’s Complaint (ECF No. 1), to

                                                                                                                         22   provide additional time to investigate Plaintiff’s allegations and for MedRisk to

                                                                                                                         23   prepare a response.

                                                                                                                         24

                                                                                                                         25                                 [Continued on following page.]

                                                                                                                         26

                                                                                                                         27   1 By filing this Stipulation, MedRisk is not waiving any defense, affirmative or
                                                                                                                         28   otherwise, it may have in this matter.


                                                                                                                              DMWEST #38299028 v1
                                                                                                                              Case 3:19-cv-00619-LRH-WGC Document 11 Filed 10/18/19 Page 2 of 2



                                                                                                                         1
                                                                                                                                     This is the first request for an extension, and it is made in good faith and not for
                                                                                                                         2
                                                                                                                              purposes of delay.
                                                                                                                         3
                                                                                                                                     Dated this 18th day of October, 2019.
                                                                                                                         4
                                                                                                                               BALLARD SPAHR LLP                              COOK & KELESIS, LTD.
                                                                                                                         5

                                                                                                                         6
                                                                                                                               By: /s/ Joel E. Tasca                          By: /s/ Taylor T. Smith
                                                                                                                         7     Joel E. Tasca, Esq.                            Marc P. Cook, Esq.
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                                                                                                                                                                              Admitted Pro Hac Vice
                                                                                                                         11    Attorneys for Defendant                        Taylor T. Smith, Esq.
                                                                                                                               MedRisk, LLC                                   Admitted Pro Hac Vice
                                                                                                                         12                                                   WOODROW & PELUSO, LLC
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




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                                                                                                                         14                                                   Attorneys for Plaintiff
                                                                                                                         15

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                                                                                                                                                                       ORDER
                                                                                                                         18
                                                                                                                                                                       IT IS SO ORDERED:
                                                                                                                         19
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                                                                                                                                                                       UNITED STATES DISTRICT JUDGE
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                                                                                                                         22                                            DATED:
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                                                                                                                              DMWEST #38299028 v1
